     Case 1:24-cv-00397-GTS-CFH          Document 7      Filed 03/28/24    Page 1 of 1




                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF NEW YORK

SARAH LYNN MALONE                                 )
                                                  )
                     Plaintiff,                   ) Case No.: 24-cv-397 (GTS/CFH)
                                                  )
v.                                                )
                                                  )
STRATEGIC LIMITED PARTNERS, LP and                )
ROY ANDLING                                       )
                Defendants.                       )

                    STATEMENT PURSUANT TO FED.R.CIV.P. 7.1

       Neither defendant is publicly traded, has a public corporation holding 10 % or more of
stock or has a parent corporation that is publicly traded.


                                                         Respectfully submitted,

                                                  By:
                                                         _____________________
                                                        Carl J. Schaerf
                                                        Wade Clark Mulcahy LLP
                                                        180 Maiden Lane
                                                        New York, NY 10038
                                                        cschaerf@wcmlaw.com
                                                        Attorney No. 509081
